        Case 2:20-cv-01556-WSH Document 21 Filed 01/20/21 Page 1 of 22




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF PENNSYLVANIA



                                                  Civil Action No. 2:20-cv-1556-WSH
  HIGH OFF LIFE, LLC,
                                                  Hon. W. Scott Hardy
                    Plaintiff,
          v.
                                                  Electronically Filed
   FREEBANDZ PRODUCTIONS, LLC,
   and SONY MUSIC HOLDINGS, INC,

                     Defendants.



               PLAINTIFF HIGH OFF LIFE, LLC’S OPPOSITION TO
                DEFENDANTS’ MOTION TO DISMISS COMPLAINT

       Plaintiff High Off Life, LLC (“HOL”) opposes the motion by Defendants
Freebandz Production, LLC (“Freebandz”) and Sony Music Entertainment (“Sony”)
(together, “Defendants”) to dismiss HOL’s complaint with prejudice under Rule 12(b)(6)
of the Federal Rules of Civil Procedure.
                                       Introduction
       Defendants’ motion strays far beyond the bounds of a motion to dismiss—arguing
new facts and seeking to contradict the factual allegations pled by HOL in its complaint.
Another court in this District recently held “a motion to dismiss is not the appropriate
stage in the litigation at which to resolve these arguments” on whether the First
Amendment shielded content from a Lanham Act claim. Cornette v. Graver, No. 3:19-cv-
219, at *15 (W.D. Pa. Apr. 2, 2020). Defendants’ arguments require determinations of
fact and weighing of the new allegations Defendants raise in their briefing. That is reason
enough to deny their motion as premature.


                                             1
        Case 2:20-cv-01556-WSH Document 21 Filed 01/20/21 Page 2 of 22




       If the Court reaches the merits and applies the Rogers test, the motion should still
be denied. The Third Circuit held in Facenda that the Rogers test should be applied
narrowly only to titles of expressive works. Defendants’ “High Off Life” branded goods
(the “Goods”) are not expressive works and are not protected by the First Amendment
under Third Circuit precedent in Facenda. Defendants ignore Facenda and rely on the
Ninth Circuit’s Empire decision, which is inapplicable and not controlling law. But even
Empire did not go as far as Defendants would have the Court go here. The Rogers test
cannot be applied to the infringing Goods which are not simply cheap album-related
swag; instead, they are an integral part of Freebandz’ streetwear clothing line, separate
and apart from the Album, which includes items like sweatshirts selling for $130 each.
Defendants also introduce new factual allegations regarding the clothing labeling and
appearance to argue there is no likelihood of confusion. That analysis is far outside the
scope of a motion to dismiss and should not be considered.
       The “High Off Life” album (the “Album”) is also exempt from the Rogers test for
two reasons: (1) its title is confusingly similar to the “High Off Life” titles used by HOL
for its identical hip-hop music events, hip-hop music streaming shows, and hip-hop music
production services; and (2) Defendants admit they have not used the phrase “High Off
Life” to either refer to plaintiff HOL or signify the same meaning of the phrase that is
associated with HOL’s use of its marks—enjoyment of life without drugs. While the First
Amendment allows a third party to use a trademark for purposes of commenting on or
critiquing the mark, it does not freely allow use of another’s mark for any purpose
unrelated to the mark itself, particularly if that use is likely to mislead consumers.
       Even if Rogers did apply, Defendants cannot meet their burden of proof. A
reasonable person could find either that the title lacks a clear relationship to the Album’s
content or that Defendants’ use of HOL’s marks is explicitly misleading. While Plaintiff
HOL uses its “High Off Life” marks to identify the positive, conscious feeling of
enjoying life without drugs, the drug-fueled content of the Album is antithetical to the
                                              2
        Case 2:20-cv-01556-WSH Document 21 Filed 01/20/21 Page 3 of 22




meaning associated with HOL’s marks. Further, Defendants use nearly identical marks to
HOL’s on identical products, creating the likelihood consumers will be misled. Thus,
neither the Goods nor Album are subject to a valid First Amendment defense and the
Court should deny Defendants’ motion in full. At minimum, the Court should grant leave
to amend to add supporting facts rather than dismissal with prejudice.

I.     Motion to Dismiss Standard Requires Accepting Facts Pled by HOL and Does
       Not Permit Consideration of Allegations Raised by Defendants in Briefing
       Under Third Circuit law, the Court conducts a two-part inquiry on a motion to
dismiss: (1) “the factual and legal elements of a claim should be separated [and] [t]he
district court must accept all of the complaint’s well-pleaded facts as true, but may
disregard any legal conclusions”; and (2) the Court “must then determine whether the
facts alleged in the complaint are sufficient to show that the plaintiff has a ‘plausible
claim for relief.’” Fowler v. UPMC Shadyside, 578 F.3d 203, 210-11 (3d Cir. 2009)
(internal citations omitted). “[N]othing in Twombly, Iqbal, or Fowler has altered some of
the fundamental underpinnings of the Rule 12(b)(6) standard of review.” Brown &
Brown, Inc. v. Cola, 745 F. Supp. 2d 588, 603 (E.D. Pa. 2010) (citing Arner v. PGT
Trucking, Inc., No. CIV.A.09-565, 2010 WL 1052953, at *2 (W.D. Pa. Mar. 22, 2010)).

       Federal Rule of Civil Procedure 8 still requires only a short and plain
       statement of the claim showing that the pleader is entitled to relief and need
       not contain detailed factual allegations. Fed. R. Civ. P. 8; Phillips v. County
       of Allegheny, 515 F.3d 224, 233 (3d Cir. 2008). Further, the court must
       “accept all factual allegations in the complaint as true and view them in the
       light most favorable to the plaintiff.” Buck v. Hampton Twp. Sch. Dist., 452
       F.3d 256, 260 (3d Cir. 2006). Finally, the court must “determine whether,
       under any reasonable reading of the complaint, the plaintiff may be entitled
       to relief.” Pinkerton v. Roche Holdings Ltd., 292 F.3d 361, 374 n. 7 (3d Cir.
       2002).
Brown, 745 F. Supp. 2d at 603-04.
       Further, the Court “may not, in considering a motion to dismiss under Rule
12(b)(6), take cognizance of the factual allegations in the moving party’s motion or
memorandum of law.” Qwest Comms. Intern. v. Cyber-Quest, Inc., 124 F. Supp. 2d 297,
303 (M.D. Pa. 2000). “[A]ny argument for dismissal founded on the assertion [raised in
                                              3
        Case 2:20-cv-01556-WSH Document 21 Filed 01/20/21 Page 4 of 22




briefing] is misplaced.” Id. (citing Pension Benefit Guaranty Corp. v. White Consolidated
Indus., Inc., 998 F.2d 1192, 1196 (3d Cir. 1993) (“To decide a motion to dismiss, courts
generally consider only the allegations contained in the complaint, exhibits attached to
the complaint and matters of public record.”)). The Court therefore must disregard the
factual allegations offered by Defendants in their motion briefing.

II.    Determination on First Amendment Defense is Premature
       Defendants’ arguments are fact-based and not properly raised on a motion to
dismiss. In Cornette, the court in this District denied as “premature” the defendant’s
motion to dismiss on grounds “the First Amendment protects the expression the [accused
infringing shirts] embody and shields it from liability under the Lanham Act.” No. 3:19-
cv-219, at *15. “Whether a violation of the Lanham Act has occurred is a question that is
‘predominantly factual in nature.’” Id. (quoting Facenda v. NFL Films, Inc., 542 F.3d
1007, 1024 (3d Cir. 2008)). The Cornette court found there was an insufficient factual
record to determine whether the defendant’s clothing constituted protected parodies under
the First Amendment and held a “motion to dismiss is not the appropriate stage in the
litigation at which to resolve these arguments.” Id.
       Here, to grant Defendants’ motion, the Court would need to rule on whether the
Album title is clearly related to the Album’s content and whether Defendants’ use of
HOL’s marks on the Album and Goods is explicitly misleading. See, e.g., Seale v.
Gramercy Pictures, 949 F. Supp. 331, 337 (E.D. Pa. 1996). In support of their arguments
on this point, Defendants seek to introduce numerous new factual allegations, including:
        Future himself allegedly chose “High Off Life” as the replacement title for the
          Album. [Dkt. 20 at 1]
        “High off life” is viewed (by some unspecified person) as “synonymous with
          ‘life is good’ . . . .” [Id.]
        The Album is “a collection of songs about life and its joys . . . .” [Id. at 14]
        The Album is “a product of Future reflecting on his life and recognizing his
                                              4
        Case 2:20-cv-01556-WSH Document 21 Filed 01/20/21 Page 5 of 22




           good fortune . . . .” [Id.]
        The Album “conjure[s] feelings of optimism, abundance, comfort, happiness,
           and self-love.” [Id.]
        “‘High Off Life’ was not ‘arbitrarily chosen’ as the Album’s title.” [Id. at 15]
        The Album’s focus is “spreading a message of positivity . . . .” [Id.]
        The Goods bear internal labeling relating to Freebandz. [Id. at 7-8]
       As noted above, the Court cannot properly consider any of these new factual
allegations in deciding Defendants’ motion. See Qwest, 124 F. Supp. 2d at 304. Rather,
Defendants’ attempt to introduce this new information highlights that this is not the
appropriate stage to resolve the First Amendment defense on which the motion hinges.
To rule for Defendants, the Court would necessarily have to find their new allegations are
true, despite their contradicting the facts pled in HOL’s complaint and the actual lyrics of
the Album (as shown below). Such weighing of facts at this stage is improper.
Defendants have not cited any opinion from this District or the Third Circuit in which a
similar case was decided on a Rule 12(b)(6) motion. Rather, the most relevant cases were
decided on summary judgment or at trial.1 Here, as in Cornette, the record should first be
developed factually before the requested determination is made. Defendants’ motion
should thus be dismissed as premature.




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  The court in Hidden City Phila. v. ABC, Inc., No. CV 18-65 (E.D. Pa. Mar. 1, 2019),
dismissed plaintiff’s trademark infringement claim on a Rule 12(b)(6) motion due to the
plaintiff’s failure to register its trademark prior to filing suit. Id. at *4. In dicta, the court
found the First Amendment also barred the claim, as the defendant’s title “Hidden
Philadelphia” was “clearly artistically relevant” to a television show about secret, hidden
features of Philadelphia. Id. at *7-8. As explained below, here there is a far more
significant likelihood of consumer confusion with between the parties’ identical goods
and services in the same hip-hop music industry targeting the same consumers, and the
Album title and its content have no connection like the clear relationship between title
and content found in Hidden City.
                                                5
        Case 2:20-cv-01556-WSH Document 21 Filed 01/20/21 Page 6 of 22



III.   Under Binding Third Circuit Law, the Rogers Test Does Not Apply to “High
       Off Life” Branded Goods
       The Third Circuit opinion in Facenda requires that the Court deny Defendants’
motion to dismiss as to the infringement claims concerning the “High Off Life” branded
Goods. Further, the new factual allegations by Defendants in their briefing regarding the
Goods’ internal labeling cannot be considered, and the likelihood of confusion analysis
argued by Defendants is far outside the scope of a motion to dismiss.

       A.     Facenda Bars Application of Rogers Test to the Infringing Goods
              Because the Goods are Commercial Speech
       As pled by HOL, the infringing “High Off Life” branded Goods being sold by
Defendants consist of apparel and merchandise such as tote bags. [Dkt. 1 ¶¶ 27-29]
Under binding Third Circuit precedent, the Rogers test for a First Amendment defense
would only apply if the Goods were deemed “works of artistic expression.” Facenda, 542
F.3d at 1016. Defendants’ Goods clearly do not meet that standard.
       In Facenda, the Third Circuit held that even a creative work containing some
expression—a film about the making of the Madden NFL 06 video game—was
commercial speech to which the Rogers test should not be applied. Id. at 1017-18. The
Third Circuit explained that “[u]nlike the film title in Rogers, the books in Cliffs Notes, or
the painting in ETW, the work accused of trademark infringement in our case aims to
promote another creative work, the video game.” Id. at 1018. Thus, “[e]ven if Rogers
should apply beyond titles (an extension undertaken, to our knowledge, in only the two
cases mentioned above), we decline to apply it here in a context with that additional
degree of separation.” Id. The Third Circuit therefore found “[b]ecause we hold that ‘The
Making of Madden NFL 06’ is commercial speech rather than artistic expression, we
need not reach the issue whether our Court will adopt the Rogers test.” Id.; see also
Seale, 949 F. Supp. at 340 (holding no First Amendment defense to Lanham Act claim if
defendants’ use of likeness of Bobby Seale was “a disguised advertisement for the sale of
the CD/cassette”). Following Facenda, the Eastern District of Pennsylvania denied a

                                              6
        Case 2:20-cv-01556-WSH Document 21 Filed 01/20/21 Page 7 of 22




motion to dismiss where the plaintiffs “have pled that Defendants’ speech is commercial,
it does fall under the Lanham Act [and] [c]onsequently, Defendants’ First Amendment
arguments must fail.” Valley Forge Military Acad. Found. v. Valley Forge Old Guard,
Inc., 24 F. Supp. 3d 451, 455 (E.D. Pa. 2014). “The alleged appropriation of Plaintiffs’
marks for commercial purposes is not protected by the First Amendment.” Id. (citing
Facenda, 542 F.3d at 1018).
       Defendants here explicitly state that the Goods “were created and marketed
specifically to promote” the Album. [Dkt. 20 at 13, 21 (“Goods sold to promote the
Album.”)] Thus, this situation is the same as Facenda. Clothing and tote bags are not
expressive works. And Defendants themselves claim the Goods, like the Madden film,
“aim[ed] to promote another creative work”—the Album. Facenda, 542 F.3d at 1018.
Under Defendants’ own factual allegations, the Goods therefore constitute commercial
speech. See id. They are allegedly an advertisement for another product, and Defendants
have a promotion-based economic incentive to use the “High Off Life” mark. [Dkt. 20 at
13]; Facenda, 542 F.3d at 1017-18. There is thus the same “additional degree of
separation” between any artistic expression in the Album and the commercial speech of
the Goods as was present in Facenda. Id. at 1018. As a result, binding precedent prohibits
applying the Rogers test to Defendants’ Goods, and the motion to dismiss the Goods-
related infringement claims should be denied. Id.

       B.     Ninth Circuit Empire Case Directly Conflicts With Facenda Precedent
       Defendants ignore Facenda and contend the Court should do the same, instead
citing Twentieth Century Fox Television v. Empire Distribution, Inc., 875 F.3d 1192 (9th
Cir. 2017), and a California district court opinion which relied on Empire for its holding.
However, Empire held that activities aimed at promoting a television show, including
advertising and the sale and licensing of consumer goods, were subject to the Rogers test




                                             7
        Case 2:20-cv-01556-WSH Document 21 Filed 01/20/21 Page 8 of 22




under an “extension of the reasoning of Rogers.” Id. at 1196-97.2 That holding is directly
contrary to Facenda, which held Rogers applies more narrowly and does not apply to
material that merely advertises or promotes another expressive work. Facenda, 542 F.3d
at 1017-18. Because this Court is bound to follow Facenda, it should reject Defendants’
attempt to override Third Circuit precedent.
       In addition, the facts pled by HOL in the complaint support that the “High Off
Life” Goods are not just cheap promotional items but rather are Freebandz’ separate line
of streetwear apparel. [Dkt. 1 ¶¶ 27-29] While one t-shirt depicted in the complaint does
show the Album cover, all of the other apparel and merchandise use the “High Off Life”
mark completely independently of the Album’s appearance and content. [See id.] Further,
Freebandz was selling these apparel items for significant sums—approximately $100 for
a pair of sweatpants, and $130 for a sweatshirt, for example. [Dkt. 20 at 6] Defendants
even created a separate website, www.shoplifeisahigh.com, to display and sell the Goods.
[Dkt. 1 ¶ 27] Thus, unlike in Empire and Deus ex Machina, the infringing apparel here is
not inexpensive promotional swag. Rather, the Goods are clearly intended to stand alone
as an apparel collection offered by Future. And by pleading facts showing the Goods bear
“High Off Life” marks that are nearly identical to HOL’s registered trademarks on the
exact same goods, HOL has pled valid infringement claims.

       C.     Even if Rogers Test Did Apply to the Infringing Goods, Defendants’
              Motion Fails
       Should the Court decide to apply the Rogers test to the Goods despite Facenda,
Defendants’ motion still must be denied. As described in more detail below, a reasonable
person could find the mark “High Off Life” bears no clear relation to the Album content.


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  The other California case cited by Defendants, Deus ex Machina Motorcycles Pty. Ltd.
v. Metro-Goldwyn-Mayer Inc., No. CV-20-4822, 2020 WL 6875178 (C.D. Cal. Oct. 23,
2020), expressly relied on Empire to support applying the Rogers test to a jacket sold by
defendants to promote a movie, which bore a phrase similar to the plaintiff’s mark. Id. at
*4. That case provides nothing new and also directly conflicts with Facenda.
                                               8
        Case 2:20-cv-01556-WSH Document 21 Filed 01/20/21 Page 9 of 22




Additionally, the Goods must fail prong one of the Rogers test since the Goods (e.g., the
sweatpants) are commercial products and not expressive content.
       The second prong of Rogers looks at whether the use of the mark “was explicitly
misleading as to source or content.” Seale, 949 F. Supp. at 339. Defendants’ use of the
identical phrase in HOL’s trademarks on the exact same types of goods sold by HOL is
explicitly misleading as to the source of the Goods. Defendants’ only counter is to
attempt to introduce new facts in their briefing regarding labeling of the Goods. [Dkt. 20
at 7-8, 22] Those newly raised allegations must be disregarded at this stage. See Qwest,
124 F. Supp. 2d at 304. A determination of Rogers’ second prong clearly requires
weighing of facts regarding whether Defendants’ use of HOL’s marks on identical goods
is explicitly misleading to consumers. Thus, a ruling on that prong is inappropriate for
resolution on a motion to dismiss. See Cornette, No. 3:19-cv-219, at *15.

       D.     Likelihood of Confusion Cannot Be Determined At This Stage
       Many of the new factual allegations raised by Defendants in their briefing appear
directed towards contending there is no likelihood of confusion between HOL’s
registered trademarks and Defendants’ Goods. [See Dkt. 20 at 7-8, 21-22] However,
“[u]ltimately, likelihood of confusion is, at its core, a question of fact.” Brown, 745 F.
Supp. 2d at 617 (quoting AH Sportswear v. Victoria’s Secret Stores, 237 F.3d 198, 237
(3d Cir. 2000)). “As such, a motion to dismiss on this issue will only be granted if the
defendant can establish that no reasonable factfinder could find a likelihood of confusion
on any set of facts that plaintiff could prove.” Brown, 745 F. Supp. 2d at 617.
       Defendants cannot meet that burden of proof. First, their new allegations regarding
internal labeling of the “High Off Life” branded Goods are extraneous to the Complaint
and cannot be considered. See Qwest, 124 F. Supp. 2d at 304. Second, the Third Circuit
has recognized that trademark infringement liability under the Lanham Act is “not limited
to confusion at the point of sale” but also includes initial interest and post-sale confusion.
Checkpoint Sys. v. Check Point Software Tech, 269 F.3d 270, 295 (3d Cir. 2001) (citing
                                              9
       Case 2:20-cv-01556-WSH Document 21 Filed 01/20/21 Page 10 of 22




Koppers Co. v. Krupp-Koppers GmbH, 517 F.Supp. 836, 843-44 (W.D. Pa. 1981)
(holding Congress intended to broaden the scope of protections with the 1962
Amendment to the Lanham Act); 3 McCarthy on Trademarks Unfair Competition, § 23.7
(noting Lanham Act’s “expansion of the test of infringement and held that it supports a
finding of infringement when even non-purchasers are deceived.”)). Defendants’ Goods
are sold online. HOL’s complaint contains actual screenshots of Freebandz’ website and
Instagram page where the Goods were marketed and sold, which show the internal
labeling is not visible while the “High Off Life” branding is. [Dkt. 1 ¶¶ 27-29, 31] It is
thus highly likely a consumer would never see the Goods’ internal tags when the
consumer was making his or her purchasing decision, and the tags would certainly not be
visible when the purchaser was wearing the garment. What clearly is visible pre- and
post-purchase, however, are the “High Off Life” marks. [See id.] The Goods’ internal
labeling therefore cannot prevent a likelihood of consumer confusion, which can include
confusion before a purchase is made and confusion by third parties after a purchase when
the consumer is wearing Defendants’ apparel. See, e.g., Levi Strauss Co. v. Blue Bell,
Inc., 632 F.2d 817, 822 (9th Cir. 1980) (holding, in suit by Levi Strauss over Wrangler’s
use of similar jeans pocket tab trade dress, that Wrangler’s extensive labeling, including
its own name on the very tag at issue, was not sufficient to avoid confusion as to source
in the post-sale context because “point of sale materials are removed by the purchaser and
have no confusion-obviating effect when the pants are worn.”).
       Though a few of the Goods may contain references to other phrases or images
associated with the Album, most of the Goods merely depict the “High Off Life” mark
without any reference whatsoever to Future or the Album. [See id.] And, as pled, these
are identical goods to those claimed in HOL’s registered trademarks and for which HOL
has common law rights, and Defendants’ use of the marks on the Goods has caused actual
confusion. [Dkt. 1 ¶ 19, 22, 39] Given the facts pled in the complaint, there is plainly a
possibility a “reasonable factfinder could find a likelihood of confusion on any set of
                                             10
       Case 2:20-cv-01556-WSH Document 21 Filed 01/20/21 Page 11 of 22




facts that plaintiff could prove.” Brown, 745 F. Supp. 2d at 617. Defendants’ attempt to
obtain dismissal on no likelihood of confusion must therefore be denied. Id.

IV.    The Rogers Test is Also Inapplicable to the Album Title, Which Uses An
       Identical Title in a Confusingly Similar Manner
       With regard to the Album, Defendants contend that if there is any possible
interpretation connecting “High Off Life” with the Album’s lyrics, then HOL’s claims
must be dismissed. But that is not the law. Rather, the Rogers test is not properly applied
to the Album-related infringement claims because (a) the Album title “High Off Life” is
confusingly similar to the titles of HOL’s hip-hop-related events, music production
services, and television shows, and (b) Defendants admit they have not used the phrase
“High Off Life” to refer to HOL or to signify the same meaning that is associated with
HOL’s use of its marks. While the First Amendment allows one to make use of another’s
trademark in an expressive way to comment on or critique the trademark or the idea it
embodies, one cannot use another’s trademark for any purpose at all. Holding otherwise
would enable widespread misappropriation of registered marks and use of those marks to
advertise and sell similar products—which is what Defendants have done here. That
conduct is not protected by the First Amendment.
       First Amendment rights are necessarily in tension with trademark rights.
Defendants argue for an expansive application of the Rogers test—relying entirely on
Second and Ninth Circuit, rather than Third Circuit, law. But Defendants’ position is not
in alignment with the Third Circuit’s more circumspect view of Rogers as demonstrated
in Facenda. 542 F.3d at 1015-16. The Third Circuit has expressly declined to follow
Second Circuit’s holding that the Rogers test was “generally applicable” to works of
artistic expression. Id. There is no indication the Third Circuit would follow the Ninth
Circuit’s similarly broad view. Rather, the analysis set out here is a more appropriate,
narrower view in keeping with the binding precedent of Facenda.



                                             11
       Case 2:20-cv-01556-WSH Document 21 Filed 01/20/21 Page 12 of 22



       A.     Album is Exempt From Rogers Test Because Its Title is Confusingly
              Similar to Titles of HOL’s Hip-Hop Music Events, Hip-Hop Music
              Production, and Hip-Hop-Related Streaming Shows
       The Album title is identical to the titles of HOL’s hip-hop events, music
production services, and streaming shows. Rogers itself noted that the First Amendment
did not allow a person to use any trademark for any assertedly expressive purpose.
Rather, “[p]oetic license is not without limits. The purchaser of a book, like the purchaser
of a can of peas, has a right not to be misled as to the source of the product. . . . Books are
sold in the commercial marketplace like other more utilitarian products, making the
danger of consumer deception a legitimate concern that warrants some government
regulation.” Rogers, 875 F.2d at 997-98; see Silverman v. CBS Inc., 870 F.3d 40, 49 (2d
Cir. 1989) (“Trademark protection is not lost simply because the allegedly infringing use
is in connection with a work of artistic expression.”). Therefore, Rogers explicitly held
that its “limiting construction [of the Lanham Act] would not apply to misleading titles
that are confusingly similar to other titles.” 875 F.2d at 999 n. 5. “The public interest in
sparing consumers this type of confusion outweighs the slight public interest in
permitting authors to use such titles.” Id.
       If two titles are at issue, the relevant question is whether the defendant’s use of the
word or phrase as a title is confusingly similar to the plaintiff’s use of its mark as a title.
See Rebelution, LLC v. Perez, 732 F. Supp. 2d 883, 888 (N.D. Cal. 2010) (“Thus, the
relevant question is whether [defendant rapper’s] use of the word rebelution in his album
title is confusingly similar to the title of plaintiff’s album and band name.”). When there
exists a likelihood the titles could be confusingly similar, “the First Amendment
protections offered by Rogers do not apply.” Id. That determination is made by analyzing
the likelihood of confusion factors. Id.
       Here, HOL pled that it has used the “High Off Life” marks as the titles for “High
Off Life Concerts,” “High Off Life TV,” and “High Off Life Freestyles,” all produced
and released by HOL, and all directly relating to the same type of music and subject

                                               12
       Case 2:20-cv-01556-WSH Document 21 Filed 01/20/21 Page 13 of 22




matter as the Album. [Dkt. 1 ¶¶ 3-4] HOL has also produced hip-hop content such as
music videos for other artists under the “High Off Life” brand. [Id.] Further, HOL owns a
federal trademark registration for HIGH OFF LIFE ENTERTAINMENT in class 41 for
“Entertainment services in the nature of recording, production and post-production
services in the field of music.” [Id. ¶ 21] Thus, the relevant question is whether
Defendants’ use of the phrase “High Off Life” as the Album title is confusingly similar to
the titles of HOL’s hip-hop concerts, freestyle rap releases, streaming shows, and music
videos featuring hip-hop music. HOL has pled facts sufficient to show a reasonable
factfinder may—especially in light of HOL’s ownership of a family of “High Off Life”
marks and longtime use of the marks in the hip-hip music industry—be confused as to
whether the Album was associated with or connected to HOL or involved a collaboration
between HOL and Defendants. A more detailed analysis of likelihood of confusion is
inappropriate on a motion to dismiss. See Brown, 745 F. Supp. 2d at 617. Because the
facts support that the Album title could be confusingly similar to the identical titles of
HOL’s hip-hop-related events, shows, and services, the Court should not apply the
Rogers test to the Album and the motion should be denied.

       B.     Rogers Does Not Apply Because Defendants Admit Album Title Does
              Not Refer to HOL or the Same Meaning Associated With HOL’s
              Marks
       Another reason the Rogers test should not be applied to the Album is that
Defendants admit the title “High Off Life” is neither a reference HOL nor used to signify
the same meaning associated with HOL’s marks. For the Rogers test to apply, other
district courts have held that defendants “must thus show that they used plaintiff’s mark
to refer to the meaning associated with plaintiff’s mark.” Rebelution, 732 F. Supp. 2d at
889. In other words, a defendant only has a valid defense if it used another’s mark for a
First Amendment-protected purpose of commentary on or critique of the mark or the
meaning the mark conveys. Otherwise, anyone with the motivation could claim any mark
in the world bears some relation, in their subjective interpretation, to their expressive
                                             13
       Case 2:20-cv-01556-WSH Document 21 Filed 01/20/21 Page 14 of 22




work. That would leave any mark open for the taking, which is not the law. See id.
       Rebelution involves similar facts to here—the plaintiff reggae band owned a
registered trademark for the band’s name, “rebelution,” which a rapper, Pitbull, used
without authorization as the title of his hip-hop album. Id. at 886-87. The court denied
Pitbull’s motion for summary judgment on a First Amendment defense. It held Rogers
did not apply because Pitbull admittedly had not intended to use the term “rebelution” to
refer to the plaintiff band or the meaning associated with the plaintiff’s mark, but rather
for the unrelated purpose of symbolizing Pitbull’s own struggle in life. Id. at 889. The
court explained that “[i]n every federal court of appeals case addressing the artistic
adoption of plaintiff’s non-generic mark, the artistic relevance of defendant’s use of the
mark related to the meaning associated with plaintiff’s mark.” Id. (citing Rogers, 875
F.2d at 996-97 (movie title referring to plaintiff Ginger Rogers); Cliff Notes v. Bantam
Doubleday Dell Pub. Group, 886 F.2d 490, 491 (2d. Cir. 1989) (publication allegedly
parodying plaintiff’s publication named Cliff Notes); Twin Peaks Prods., Inc. v. Pubs.
Int’l, Ltd., 996 F.3d 1366, 1370 (2d. Cir. 1992) (book title referring to plaintiff's
television series named Twin Peaks); MCA Records, 296 F.3d at 899 (band referring to
plaintiff’s famous doll, Barbie); ETW Corp. v. Jireh Pub., Inc., 332 F.3d 915, 918-19
(6th Cir. 2003) (painting referring to plaintiff Tiger Woods); Walking Mountain Prod.,
353 F.3d at 796 (photographer referring to plaintiff’s famous doll, Barbie); Rock Star
Videos, 547 F.3d at 1097 (video game maker allegedly referring to plaintiff’s strip club)).
The Sixth Circuit drew the same conclusion in Parks v. Laface Records, 329 F.3d 437,
454 (6th Cir. 2003) (explaining “the title in Rogers was obviously relevant and truthful as
to the film’s content, because the film was about the main characters known in the film as
Ginger and Fred. In contrast, it cannot be said that the title in the present case, Rosa
Parks, is clearly truthful as to the content of the song”).
       By contrast to cases where a defendant used a plaintiff’s mark to refer to the
plaintiff or the meaning associated with the mark, the Rebelution court held “[Pitbull’s]
                                              14
       Case 2:20-cv-01556-WSH Document 21 Filed 01/20/21 Page 15 of 22




argument—that the content of his album bears relevance to his interpretation of the word
rebelution—is . . . unsupported by [case law].” Rebelution, 732 F. Supp. 2d at 889. The
court found if every First Amendment defense could be based on the defendant’s own
subjective interpretation of a title’s alleged relationship to the work, that “at its logical
conclusion, would allow any person to ascribe their own meaning to a mark and
thereafter argue that their artistic work bears relevance to this opportunistically-defined
meaning.” Id. “Indeed, it would allow defendants to co-opt the most fanciful marks—
marks afforded great protection under trademark law—as those marks are the most
susceptible to differing interpretations.” Id. That “is not the law.” Id. (rejecting as
“unpersuasive” the defendants’ reliance on Roxbury Entertainment v. Penthouse Media
Group, 669 F. Supp. 2d 1170 (C.D. Cal. 2009), because even Roxbury “relates to
defendants’ reference [in an adult movie involving a road trip] to the meaning associated
with the plaintiff’s mark [for “Route 66”].”). Rebelution, 732 F. Supp. 2d at 889.
       Rebelution builds on a point made in Rogers—that the First Amendment protects
an artist’s ability to make commentary about a trademark or the meaning the mark
conveys. See also Seale, 949 F. Supp. at 340 (holding defendants could use Bobby
Seale’s likeness on a film about the Black Panthers but had no First Amendment right to
use the likeness on an album containing a collection of songs with no “direct connection”
to Seale). If a song is about Rosa Parks, then there is a First Amendment right to title that
song Rosa Parks. See Parks, 329 F.3d at 454. But one cannot arbitrarily title a song Rosa
Parks when it has nothing to do with her. See id. Likewise, an artist could name a song
Coca-Cola because it is about drinking Coca-Cola soda all day or because it critiques
Coca-Cola as a company. But if an artist names a song Coca-Cola and it is instead about
drinking vodka all day, there is no First Amendment right to use the Coca-Cola
trademark in that context. One could imagine Sony on the opposite side of this issue if a
band released an album titled “PlayStation” and started selling related “PlayStation”
branded clothing, while claiming the title related to the artist’s enjoyment of bus stations.
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       Case 2:20-cv-01556-WSH Document 21 Filed 01/20/21 Page 16 of 22




Similarly, Nike should have a valid Lanham Act claim if one sold an album and allegedly
related “promotional” clothing bearing the “Just Do It” mark and the swoosh logo.
Merely making a mark an album title does not create a gaping Lanham Act loophole.
       Here, Defendants admit they are using the “High Off Life” title neither to
comment on HOL directly nor to call to mind the same meaning associated with HOL’s
marks. HOL pled in the complaint that HOL’s founder uses the mark “High Off Life” to
“emphasize his focus on more positive, conscious subject matter.” [Dkt. 1 ¶ 1] In other
words, the meaning associated with HOL’s marks is to get enjoyment life itself, without
drugs. By contrast, Defendants state the title of the Album is “a nod to Future’s numerous
references to drug use . . . .” [Dkt. 20 at 15] And the Album is replete with references to
drug use. See Declaration of Stephen McArthur (“McArthur Decl.”) filed herewith,
Exhibit (“Ex.”) A (Album lyrics with various drug references highlighted).3 In the first
song, Trapped in the Sun, Future references being on Adderall, having “dope in my
blood,” being “full of promethazine,” and needing some “molly” (MDMA/ecstasy) to
“boost your self-esteem.” McArthur Decl., Ex. A at 3. The next song, HiTek Tek, covers
having big guns, drinking codeine cough syrup (“drank”), selling cocaine, taking
amphetamines (“beans”), having a woman take amphetamines, and being high on
methamphetamine for seven days (“I been already geeked for seven days”). Id. at 5-6.
Overall, the Album’s lyrics refer to (at least) codeine, cocaine, Percocet, MDMA,
Adderall, Promethazine, marijuana, cough syrup, methamphetamine, PCP, and
unspecified pills. What the album lyrics do not contain is any use of the phrase “High Off
Life” in any context. That phrase is absent from the Album. The facts therefore fully
support that Defendants are not using the mark “High Off Life” for the First Amendment-


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 As Defendants note, the Court can consider the Album’s lyrics in the context of this
motion to dismiss. See In re Burlington Coat Factory, 114 F.3d 1410, 1426 (3d Cir.
1997) (“a document integral to or explicitly relied upon in the complaint may be
considered without converting the motion to dismiss into one for summary judgment”).
                                             16
       Case 2:20-cv-01556-WSH Document 21 Filed 01/20/21 Page 17 of 22




protected purpose of referencing HOL or the drug-free positive meaning associated with
HOL’s marks. Rather, Defendants are using HOL’s mark—which they admit was a last-
minute choice for an album intended to be titled “Life is Good”—arbitrarily to sell their
identical goods, creating the likelihood consumers will be confused. That is not protected
speech. See Rebelution, 732 F. Supp. 2d at 889. This is a second reason the Court should
not apply Rogers to the Album title and should deny the motion to dismiss.

       C.     Defendant’s Use of “High Off Life” Fails Seale’s Application of the
              Rogers Test Because The Trademarked Term is Not “Clearly Related”
              to the Album Content
       Even if the Court does apply the Rogers test to the Album, the outcome remains
the same. In keeping with Facenda’s more limited view of Rogers, the Court should look
to the Eastern District of Pennsylvania’s decision Seale, also cited by Defendants. There,
the court held the defendant could satisfy the first prong of the Rogers test by proving its
use of a mark was “clearly related to the content of the” expressive work. Seale, 949 F.
Supp. at 337 (quoting Rogers, 875 F.2d at 1004-05). The Seale court held the defendant
had a First Amendment defense to its use of Bobby Seale’s likeness on the cover of a
book and movie about Seale and the Black Panthers, because the images were “clearly
related to the content of the film and the pictorial history book . . . .” Seale, 949 F. Supp.
at 340. However, the court denied summary judgment on the defendant’s use of Seale’s
likeness on the cover of a musical album that accompanied the Black Panther book and
movie. Id. Unlike the book and movie, the album was “merely a collection of different
songs performed by different musicians, which songs have no direct connection to the
Plaintiff or the history of the Black Panther Party.” Id. at 337 (emphasis added). Thus,
there was a genuine issue of material fact as to whether Seale’s likeness was “clearly
related” to the album’s content. Id. at 340. As the Seale court notes, this “clearly related”
test is in line with Rogers and should be applied by this Court.
       Here, a reasonable person could find the Album content is not clearly related to
the phrase “High Off Life” as it concerns HOL or HOL’s brand. Defendants admit the
                                              17
       Case 2:20-cv-01556-WSH Document 21 Filed 01/20/21 Page 18 of 22




content of the Album has nothing to do with HOL or its brand, which focuses on a
positive message of enjoying life without drugs. As HOL pled, and Defendants admit,
“High Off Life” was a last-minute choice for the Album title, the content of which Future
created on the belief the album would be titled “Life is Good”. [Dkt. 1 ¶¶ 6, 25] see also
McArthur Decl., Ex. B (media interview with Future dated April 7, 2020, just one month
before Album release, where he discusses title being “Life is Good” and explains the
relationship between that title and the album content).4 There are no facts in the record to
support Defendants’ new factual allegation in their brief that Future himself chose “High
Off Life” as a replacement title. The title could very well have been picked by a Sony
marketing manager who thought it would help sell the Album. Even some subjective
metaphoric or symbolic relation alleged to exist between title and content would not
satisfy Defendants’ burden of proof. See Parks, 329 F.3d. at 452-53 (rejecting rap
group’s argument their Rosa Parks song was “metaphorically” or “symbolically” related
to Ms. Parks because the song lyrics referred to moving to the back of the bus).
       Overall, the facts pled by HOL fully support its allegation in the complaint that the
Album title “High Off Life” is not clearly related to the Album’s content. [Dkt. 1 ¶¶ 7,
26] If anything, as in Parks, the Album’s content is “clearly antithetical to the qualities”
associated with HOL’s brand—being positive, conscious, and enjoying life without
drugs. See Parks, 329 F.3d. at 454. Because a reasonable person could find that the
Album’s content is not clearly related to the title “High Off Life,” Defendants cannot
satisfy the first prong of the Rogers test, and their motion to dismiss the claims relating to
the Album should be denied. See Seale, 949 F. Supp. at 340; Parks, 329 F.3d at 452

4
 HOL provides this article to show that the factual allegations it made in the complaint
are fully supported. Even if the Court were to admit the article into the record, which
would not be necessary to rule on the motion, that would not require converting this
motion to a summary judgment motion. See Kulwicki v. Dawson, 969 F.2d 1454, 1462
(3d Cir. 1992) (“Where a district court explicitly confines its ruling to the complaint,
however, our review is as under a motion to dismiss, even where additional materials
were admitted into the record.”).
                                             18
       Case 2:20-cv-01556-WSH Document 21 Filed 01/20/21 Page 19 of 22




(reversing district court’s grant of summary judgment for defendants on First
Amendment grounds where “the artistic relationship between the title and the content of
the song is certainly not obvious and, indeed, is open to reasonable debate”).

       D.     The Title Explicitly Misleads as to the Source or Content of the Work
       Defendants cannot satisfy the second prong of the Rogers test either. A trademark
should be enforced, even against titles of expressive works, “when consumers are likely
to be misled or confused by the alleged infringer’s use.” Facenda, 542 F.3d at 1018
(citing Central Hudson, Gas Elec. Corp. v. Pub. Serv. Comm’n of N.Y., 447 U.S. 557,
563 (1980) (“[T]here can be no constitutional objection to the suppression of commercial
messages that do not accurately inform the public about lawful activity.”); 6 J. Thomas
McCarthy, McCarthy on Trademarks and Unfair Competition § 31:142, at 31-229 (4th
ed. 1996 Supp. 2008) (describing the low level of First Amendment protection for
misleading speech)). The Rogers court stated as to the second prong of its test, “titles
with at least minimal artistic relevance to the work may include explicit statements about
the content of the work that are seriously misleading.” 875 F.2d at 1000. Such misleading
titles are not protected by the First Amendment. See id.
       Here, Defendants’ usage of the “High Off Life” mark is misleading in the same
sense as someone who sells an album titled “The Beatles” would be. HOL owns a
registered trademark for the exact term used as the Album title for the exact products and
services being sold under that mark by Defendants. [Dkt. 1 ¶¶ 3-4, 19-21] From HOL’s
long-time use of “High Off Life” in relation to hip-hop concerts and television shows,
consumers had come to expect hip-hop-related goods and services bearing that mark to
come from or be associated with HOL. A reasonable factfinder could thus conclude that
consumers would expect a hip-hop album bearing the mark “High Off Life” to originate
from or be affiliated with HOL. This is no different from consumers who, quite
reasonably, could believe an album bearing the mark “Epic Records” originates from
Epic Records, a Sony Music label. Defendants’ use of an identical trademark on identical
                                             19
       Case 2:20-cv-01556-WSH Document 21 Filed 01/20/21 Page 20 of 22




goods—a hip-hop album—creates the likelihood consumers will be misled as to whether
the Album originates from HOL or is affiliated with or connected to HOL, such as a
collaboration between HOL and Defendants.
       Moreover, the facts show the Album title “High Off Life” is explicitly misleading
as to the Album’s content, which is never about being high off life. Rather, the Album is
largely about being high off nearly every drug imaginable—from prescription pills to
cough syrup to various Schedule 1 drugs. A consumer seeking HOL’s positive, conscious
message about enjoying life drug-free is not going to find it in the Album. This creates an
even higher likelihood HOL will be damaged by confusion between its goods and
services and Defendants’ Album.
       Defendants seek to circumvent the Lanham Act with twisted interpretations of
Ninth Circuit case law that do not apply in this Circuit. But there is no Lanham Act
loophole that allows the use of a mark in a way that is misleading to consumers just
because the mark happens to be used as the title of an album. HOL has pled facts
supporting that a reasonable person could find consumers may be misled by the “High
Off Life” mark appearing on the Album. Any further analysis of the likelihood of
confusion is not appropriate on a motion to dismiss. Therefore, the Court should deny
Defendants’ motion. The Album-related infringement claims are not subject to the
Rogers test, and, even if that test were applied, Defendants cannot meet their burden of
proof to warrant dismissal of HOL’s claims with prejudice.
                                        Conclusion
       Defendants’ attempts to inject new factual allegations at this stage demonstrates
their motion to dismiss is premature and should be denied on that ground alone. On the
merits, the “High Off Life” branded Goods are clearly commercial speech that is exempt
from the Rogers test under the binding law of Facenda. And HOL has pled sufficient
facts in the complaint to support that a reasonable factfinder could find a likelihood of
confusion. The Album title is also commercial speech that is not subject to the Rogers
                                             20
       Case 2:20-cv-01556-WSH Document 21 Filed 01/20/21 Page 21 of 22




test because it is confusingly similar to HOL’s titles for hip-hop events and shows
featuring hip-hop and freestyle rap, and because Defendants admit they do not use the
phrase “High Off Life” to refer to HOL or the meaning associated with HOL’s marks.
Should the Court apply the Rogers test to the Album, a reasonable person could find the
title “High Off Life” is not clearly related to the Album’s content or is explicitly
misleading as to the origin from or association with HOL. For these reasons, Defendants’
motion to dismiss should be denied in its entirety. If the Court finds the complaint to be
missing any necessary facts, it should grant leave to amend rather than dismissal with
prejudice as requested.
       Lastly, because HOL’s Lanham Act claims should survive the motion to dismiss,
its state law trademark claims do as well. See Cornette, No. 3:19-cv-219, at *10 n.9 (“As
the Court concludes that Cornette’s Lanham Act claims survive, his state law trademark
claims do as well.”).

                                                  Respectfully submitted,
DATED: January 20, 2021                           THE MCARTHUR LAW FIRM, PC

                                                  By: /s/ Stephen C. McArthur
                                                      Stephen C. McArthur (admitted
                                                      pro hac vice)
                                                      Thomas E. Dietrich (admitted
                                                      pro hac vice)
                                                      9465 Wilshire Blvd., Ste. 300
                                                      Beverly Hills, CA 90212
                                                      (323) 639-4455
                                                      stephen@smcarthurlaw.com
                                                      tom@smcarthurlaw.com
                                                        Attorneys for Plaintiff High Off
                                                        Life, LLC




                                             21
       Case 2:20-cv-01556-WSH Document 21 Filed 01/20/21 Page 22 of 22




                                  Certificate of Service
       I hereby certify that on January 20, 2021, I electronically filed the foregoing
PLAINTIFF HIGH OFF LIFE, LLC’S OPPOSITION TO DEFENDANTS’
MOTION TO DISMISS COMPLAINT with the Clerk of the Court using the CM/ECF
system which sent notification to all counsel of record.

                                                  THE MCARTHUR LAW FIRM, PC

                                                  By: /s/ Thomas Dietrich
                                                      Thomas Dietrich




                                             22
